












Dismissed and Memorandum Opinion filed October 28, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00896-CR

____________

&nbsp;

CHADWICK HARRIS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 178th District Court


Harris County, Texas

Trial Court Cause No. 1255113

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

Appellant entered a guilty plea to aggravated assault with a
deadly weapon.&nbsp; In accordance with the terms of a plea bargain agreement with
the State, the trial court sentenced appellant on July 19, 2010, to confinement
for five years in the Institutional Division of the Texas Department of
Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We dismiss the
appeal. 

The trial court entered a certification of the defendant’s
right to appeal in which the court certified that this is a plea bargain case,
and the defendant has no right of appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court’s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The record supports the
trial court’s certification.&nbsp; See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Brown. 

Do Not Publish — Tex. R. App. P. 47.2(b)





